         Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 1 of 16




                    UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF PENNSYLVANIA

 Vern Lei, and
 Ross Gilson,
                                                                   Civil Action
                                   Plaintiff(s);
                       vs.
                                                             No.
 City of Philadelphia,
                                    Defendant.



                                       COMPLAINT
      On Tuesday, June 18th 2024, Mayor Cherelle Parker signed an ordinance that purports
to prohibit possession of all ‘Rate-of-fire acceleration devices’ including both ‘auto-sears’
and ‘bump stocks’ within the City, and imposes both civil and criminal penalties.
    There are many problems with this ordinance. First, the City of Philadelphia is expressly
prohibited from any local regulation on possession of firearms. The Bump Stock Ban is
a facial prohibition on possession of firearms with certain features. Second, the Second
Amendment of the United States Constitution and Article I, Section 21 of the Pennsylvania
Constitution prohibit infringement of the right to keep and bear arms. The Bump Stock Ban
infringes on these fundamental and constitutional rights. Finally, the Bump Stock Ban’s text
is so vaguely drafted that it fails to provide fair notice of what it prohibits. It thereby invites
arbitrary enforcement and requires the wholesale exercise of discretion both to determine
what items are actually prohibited as well as to whom the law will be enforced upon. As a
result, the Bump Stock Ban is unconstitutionally vague.
    Therefore, Plaintiffs respectfully request this Court strike down the Bump Stock Ban,
enjoin its enforcement, and award attorneys’ fees pursuant to 42 U.S.C. § 1983.
              Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 2 of 16




                                              PARTIES
1.   Plaintiff Vern Lei is an adult individual and resident of Philadelphia, Pennsylvania.

2. Plaintiff Ross Gilson is an adult individual and resident of Philadelphia, Pennsylvania.

3.   Defendant City of Philadelphia is a political subdivision of the Commonwealth of Pennsyl-
     vania.



                                  JURISDICTION & VENUE

4. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 (counts # 1–2), 42
     U.S.C. § 1343 (a) (count # 1), and Id. § 1367 (counts # 3–4).

5. This Court also has personal jurisdiction over the City of Philadelphia as a political subdi-
     vision of the Commonwealth of Pennsylvania.

6. Venue is proper before this Court under 28 U.S.C. § 1391 (b) because Philadelphia is located
     within this district.



                                    LEGAL BACKGROUND

7. The Philadelphia Code Section 10-2002, as amended by Bill No. 240472 (hereinafter
     “Bump Stock Ban”) provides:

              § 10-2002. Restrictions on Possession, Use, Transfer, or Manufacture..
                  (4) No person shall manufacture or otherwise produce a rate-of-fire ac-
              celeration device by any means, including via a three-dimensional printer
              or other additive manufacturing device or process.
                  (5) No person shall purchase or otherwise take ownership, possess, or
              sell or otherwise transfer a rate-of-fire acceleration device.
                                                                      Phila. Code. § 10-820



                                                   2
               Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 3 of 16




 8. The Philadelphia Code, as amended by Bill No. 240472, defines ‘Rate-of-fire acceleration
      device’ as “A device, such as an auto sear or bump stock, that is designed to accelerate the
      rate of fire of a semi-automatic firearm.”

 9. Bill No. 240472 was adopted into law by the signature of Mayor Cherelle Parker on June
      18th 2024.

10. Violations of these provisions carry civil penalties of $ 2,000 per violation and for “Repeat
      Violation[s]” may incur criminal penalties up to 90 days imprisonment per violation. Id. § 10-
      2003–2004. The Code also provides for ‘stacking’ of the offenses, where each regulated
      item shall be a separate violation of the law, and a person may be found guilty of Repeat
      Violation on the first violation, if multiple regulated items are possessed. Id. § 10-2004.

11. ‘Rate-of-fire acceleration devices’ are legal to own under both federal and Pennsylvania law,
      notwithstanding Philadelphia’s purported Bump Stock Ban.

12.   Under the National Firearms Act (‘NFA’), possession of an ‘auto-sear[s]’ is the same as
      possession of a ‘machinegun’ or weapon that can fire more than one bullet with a single
      function of the trigger.

13. Possession of machine guns is also legal under both federal and Pennsylvania law, subject
      to specific date of manufacture requirements and with a NFA tax stamp with the corollary
      investigation and approval by the Bureau of Alcohol, Tobacco, and Firearms (‘BATF’).



                                  FACTUAL BACKGROUND

14.   Plaintiff Lei purchased a bump stock online on June 14th 2024, prior to the enactment of the
      Bump Stock Ban. His bump stock will be delivered in the near future.




                                                    3
               Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 4 of 16




15. Plaintiff Gilson lawfully owns a NFA-regulated lower receiver with auto-sear.

16.   Both Plaintiffs possess other items which could be construed to be ‘Rate-of-fire acceleration
      devices’, however as the items are not enumerated and the law is unclear, Plaintiffs cannot
      be certain if those items would be prohibited.

17. Plaintiffs wish to continue to lawfully possess items which are defined by the code as a ‘Rate-
      of-fire acceleration device’, including bump stocks and auto-sears, as well as the other items
      which might be considered same.

18.   Plaintiffs do not wish to comply with the Bump Stock Ban which would dispossess them of
      these lawfully possessed items; however if they do not comply place themselves at risk of
      civil penalty and criminal prosecution.

19.   Plaintiffs are not otherwise disqualified from owning or possession firearms.



                                         LEGAL COUNTS

                                                Count # 1
                                     Violation of Civil Rights
                                            42 U.S.C. § 1983


20.   Plaintiffs incorporates by reference ¶¶ 1–19 above as if fully set forth herein.

21.   The Second Amendment of the United State Constitution provides:

              A well regulated Militia, being necessary to the security of a free State, the
              right of the people to keep and bear Arms, shall not be infringed.
                                                                U.S. Const. amend. II

22.   The Second Amendment is incorporated against the States, including the Commonwealth
      of Pennsylvania.



                                                     4
               Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 5 of 16




23.   As a political subdivision of the Commonwealth of Pennsylvania, the City of Philadelphia
      must obey the Second Amendment.

24.   The Second Amendment guarantees the right to bear arms.

25.   A ‘Rate-of-fire acceleration device’ is a functional firearm component, which is protected
      by the Second Amendment.

26. Philadelphia is explicitly prohibiting these weapons because they are ‘arms’, and if the ‘Rate-
      of-fire acceleration devices’ were not a functional part of a protected ‘arm’, the City would
      not be banning it.

27.   Upon information and belief, there is no historical tradition of a complete prohibition of the
      practice of prohibiting ‘rate-of-fire acceleration devices’ at any relevant period under N.Y.
      State Rifle & Pistol Assoc., Inc. v. Bruen, 597 U.S. 1 (2022).

28.   The Bump Stock Ban violates the Second Amendment.

29. Section 1983 provides, among other things, that: “Every person who, under color of any
      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of
      Columbia, subjects, or causes to be subjected, any citizen of the United States or other per-
      son within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities
      secured by the Constitution and laws, shall be liable to the party injured in an action at law,
      suit in equity, or other proper proceeding for redress.” 42 U.S.C. § 1983.

30.   The Bump Stock Ban is a “policy” of the City of the Philadelphia within the meaning of
      Monell v. Dep’t of Social Servs., 436 U.S. 658 (1978), as an official enactment of Council.

31. Among other things, Section 1983 permits injunctive relief, declaratory relief, and the award
      of reasonable attorneys’ fees.




                                                      5
                 Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 6 of 16




                                               Count # 2
                                   Unconstitutional Vagueness
                                U.S. Const. amend. V & amend. XIV


32.   Plaintiffs incorporates by reference ¶¶ 1–19 above as if fully set forth herein.

33. The Bump Stock Ban prohibits “manufacture or possession” of any “device … that is de-
      signed to accelerate the rate of fire of a semi-automatic firearm.”

34.   The Bump Stock Ban carries both civil and criminal penalties.

35. First, the Bump Stock Ban enumerates two examples: an “auto-sear” and a “bump stock”.

36.   However, an auto-sear is a fully-automatic machinegun. Therefore, it can never ‘accelerate
      the rate of fire of a semi-automatic firearm’, and could never be a ‘Rate-of-fire acceleration
      device’.

37.   The term “bump stock” is not defined or explained. However, nearly any semi-automatic
      weapon with a stock can be ‘bump-fired’, and therefore nearly any weapon with a stock could
      be construed as a ‘bump stock’. As a result—unless a device is specifically labelled as a
      ‘bump stock’—there is no way to know what features may or may not be allowed, and there-
      fore a person has no way of knowing if any particular stock is a ‘bump stock’.

38.   Next, the term ‘rate of fire’ is nearly meaningless with respect to semi-automatic weapons.
      Rate of fire is used to describe the cyclical speed of fully-automatic weapons with the trigger
      held depressed. The rate of fire is a mechanical limitation of a fully-automatic firearm, either
      by design (to ensure the safe continuous operation of a fully-automatic firearm) or because
      the physical mechanism of the firearm cannot physically cycle faster.




                                                     6
               Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 7 of 16




39.   Semi-automatic weapons are not discussed in terms of ‘rate of fire’, as the weapon fires as
      quickly as a person can pull the trigger. As semi-automatic weapon fires as quickly as the user
      can pull the trigger, up to the maximum mechanical speed that the weapon can physically
      cycle (or an external limitation, such as magazine capacity).

40.   If ‘rate of fire’ were used to describe the operation of a semi-automatic firearm, it would be
      used to describe the maximum mechanical speed that the semi-automatic mechanism can
      physically cycle. Neither an ‘auto-sear’ nor a ‘bump-stock’ actually change the maximum
      speed a firearm could cycle, and as such neither can accelerate the rate of fire of a firearm.

41.   The ‘rate of fire’ of a semi-automatic firearm can not be meaningfully changed. Since each
      shot requires one trigger pull, the speed at which multiple shots are fired from a semi-
      automatic weapon is controlled by how quickly the user depresses the trigger.

42.   Because of this, the plain text of the ordinance does not make sense: the City will be dis-
      cretionarily deciding if any particular device “is designed to accelerate the rate of fire of a
      semi-automatic firearm” with unbridled discretion and in a wholly arbitrary manner.

43.   As a result, the City could arbitrarily determine many other devices are“designed to acceler-
      ate the rate of fire of a semi-automatic firearm.” For example, most semi-automatic firearms
      allow for an aftermarket trigger system which require less pressure for a trigger break (e.g.
      easier to pull). By design, these triggers allow the user to more quickly accurately fire the
      weapon. Therefore, it is uncertain if every aftermarket trigger is now prohibited within the
      City of Philadelphia.

44.   Finally, the Bump Stock Ban prohibition has no exclusions for police, federal law enforce-
      ment, or national guard. Upon information and belief, the Philadelphia Police Department
      possesses a number of now-prohibited devices, including auto-sears (used by their SWAT




                                                    7
               Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 8 of 16




      team and other special units). Further, upon information and belief, both numerous federal
      law enforcement agencies and the Pennsylvania Army National Guard both possess devices
      prohibited by the Bump Stock Ban within the City limits.

45.   It is inconceivable that the Philadelphia Police Department intends to enforce the Bump
      Stock Ban against its own officers using police-issued equipment. It is similarly inconceiv-
      able that the City of Philadelphia intends to enforce the Bump Stock Ban against federal law
      enforcement nor the Pennsylvania Army National Guard. However, that is what the law
      would demand.

46. A statute is unconstitutionally vague when people of common intelligence must necessary
      guess at its meaning.

47.   No person of common intelligence can understand exactly what the Bump Stock Ban pro-
      hibits, much less—and more importantly—what is legal for a gun owner to possess.

48.   Every criminal law must give ordinary people fair notice of the conduct it punishes and may
      not permit arbitrary enforcement.

49. The Bump Stock Ban fails to provide fair notice of the prohibited conduct and invites un-
      bridled and arbitrary discretion to law enforcement and prosecution as to determine what
      devices might be prohibited.

50.   The Bump Stock Ban further requires wholly arbitrary and discretionary enforcement, with
      the City ‘picking and choosing’ who would be subject to the ban and would would not be
      without any clear basis or rationale in the ordinance, which further shows the law is uncon-
      stitutionally vague.

51. Therefore, the Bump Stock Ban should be struck as unconstitutionality vague.




                                                   8
                 Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 9 of 16




                                                 Count # 3
                                      State Unconstitutionality
                                   Pa. Const. art. I, § 21 & art. IX, § 2


52.   Plaintiffs incorporates by reference ¶¶ 1–19 above as if fully set forth herein.

53. Article I, Section 21 of the Pennsylvania Constitution provides:

                 The right of the citizens to bear arms in defense of themselves and the State
                 shall not be questioned.
                                                                    U.S. Const. amend. II

54.   The City of Philadelphia is a Home Rule municipality pursuant to Article 9, Section 2 of the
      Pennsylvania Constitution. As a Home Rule municipality, the City is permitted to “exercise
      any power or perform any function not denied by this Constitution, by its home rule char-
      ter, or by the General Assembly at any time.” Pa. Const. art. IX, § 2 (emphasis added);
      see also 53 P.S. § 13131.

55.   Article I, Section 21 guarantees every citizen’s right to bear arms in Pennsylvania.

56.   ‘Arms’ include functional firearms components such as ‘auto-sears’, ‘bump stocks’ and
      other components that may be prohibited by the Bump Stock Ban.

57.   The Bump Stock Ban is incompatible with the guarantees of the Pennsylvania Constitution,
      and therefore is a power denied to the City pursuant to its existence as a Home Rule munic-
      ipality.

58.   Therefore, the Bump Stock Ban is unconstitutional pursuant to both Pa. Const. art. I,
      § 21 & art. IX, § 2.


                                                 Count # 4



                                                      9
              Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 10 of 16




                      Violation of Pennsylvania Firearms Preemption
                                            18 Pa. C.S. § 6120


59.   Plaintiffs incorporates by reference ¶¶ 1–19 above as if fully set forth herein.

60.   Pennsylvania explicitly prohibits any municipality from enacted local gun laws:

              No county, municipality or township may in any manner regulate the lawful
              ownership, possession, transfer or transportation of firearms, ammunition
              or ammunition components when carried or transported for purposes not
              prohibited by the laws of this Commonwealth.
                                                                    18 Pa. C.S. § 6120 (a)

61.   The purpose of the firearms preemption law in Pennsylvania is to provide for a uniform
      system of firearms regulation within the state, particularly given the importance of the fun-
      damental and constitutional right to bear arms recognized by both the United States– and
      Pennsylvania– Constitutions.

62. Philadelphia is a municipality of Pennsylvania and bound by Section 6120 (a).

63.   The Bump Stock Ban regulates the lawful possession of a firearm, and as such is prohibited
      by Section 6120 (a).

64. Pennsylvania’s Firearm Preemption Law prohibits the City of Philadelphia from making lo-
      cal regulation of firearms, and therefore the Bump Stock Ban should be struck as unlawful.




                                                    10
        Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 11 of 16




                               RELIEF REQUESTED
   WHEREFORE, Plaintiffs request that this Court declare the Bump Stock Ban uncon-
stitutional, and further permanently enjoin enforcement of the Bump Stock Ban, award rea-
sonable attorneys’ fees and court costs, and award any other relief that this Court deems
just and proper.



                                                Respectfully Submitted,




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                                           11
Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 12 of 16




                 EXHIBIT A
                  Bill No. 240472




                            12
       Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 13 of 16




                                                                                   City Council
                                      City of Philadelphia                         Chief Clerk's Office
                                                                                   402 City Hall
                                                                                   Philadelphia, PA 19107




                                             BILL NO. 240472


                                        Introduced May 16, 2024


      Councilmembers Jones, Lozada, Phillips, Young, Bass, Brooks, Landau, Harrity,
           O'Rourke, Council President Johnson, Driscoll, Thomas and Squilla


                                          Referred to the
                                      Committee on Public Safety


                                             AN ORDINANCE

     Amending Chapter 10-2000 of The Philadelphia Code, entitled “Unlawful Manufacture of
     Firearms,” to add restrictions relating to rate-of-fire acceleration devices, all under certain terms
     and conditions.

     THE COUNCIL OF THE CITY OF PHILADELPHIA HEREBY ORDAINS:

     SECTION 1. Chapter 10-2000 of The Philadelphia Code is hereby amended to read as follows:

                  CHAPTER 10-2000. UNLAWFUL MANUFACTURE OF FIREARMS

     § 10-2001. Definitions.

                                              *       *       *

                  (11) Rate-of-fire acceleration device. A device, such as an auto sear or bump stock,
     that is designed to accelerate the rate of fire of a semi-automatic firearm.

     § 10-2002. Restrictions on Possession, Use, Transfer, or Manufacture.

                                              *       *       *

             (4)            No person shall manufacture or otherwise produce a rate-of-fire
     acceleration device by any means, including via a three-dimensional printer or other additive
     manufacturing device or process.

             (5) No person shall purchase or otherwise take ownership, possess, or sell or otherwise
     transfer a rate-of-fire acceleration device.

      City of Philadelphia                            -1-




Exhibit A                                                                                                    13
        Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 14 of 16




                                          City of Philadelphia
      BILL NO. 240472 continued



                                              *    *    *

     Explanation:
     Italics indicate new matter added.




      City of Philadelphia                        -2-




Exhibit A                                                            14
Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 15 of 16
Case 2:24-cv-02716 Document 1 Filed 06/20/24 Page 16 of 16
